              Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 1 of 47




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

BAY POINT CAPITAL PARTNERS II,
LP,

                  Plaintiff,
                                                       CIVIL ACTION NO.
v.

HOPLITE, INC., HOPLITE
ENTERTAINMENT, INC., and
JONATHAN LEE SMITH,

                  Defendants.



                                VERIFIED COMPLAINT

        Plaintiff Bay Point Capital Partners II, LP (hereinafter, “Bay Point”) hereby

files this Verified Complaint against Defendants Hoplite, Inc. (“Hoplite”), Hoplite

Entertainment, Inc. (“Hoplite Entertainment”), and Jonathan Lee Smith (“Smith;”

Smith, Hoplite, and Hoplite Entertainment, collectively, the “Defendants”), and

alleges as follows:

                                NATURE OF THE ACTION

        1.        This action arises out of a $2 million loan Bay Point made to Hoplite

and Hoplite Entertainment in September 2020 (the “Loan”), which was guaranteed

by Smith, the President and Chief Executive Officer of both entities. In order to



112886971v1
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 2 of 47




obtain the loan, Defendants knowingly presented falsified documents to Bay Point

showing short-term accounts receivable in excess of $3.4 million, and Defendants

offered Bay Point the receivables as security on the loan. A short time later, after

Defendants missed their very first installment payment just one month into the

loan, Defendants created multiple phony electronic funds transfer notifications and

presented them to Bay Point in an effort to forestall Bay Point from foreclosing on

the Loan. Bay Point endeavored to work with Defendants to secure repayment of

the loan, including by agreeing to two separate forbearance agreements in

December 2020 that provided Defendants additional time to cure their numerous

defaults. All along, however, Defendants never intended to repay their debt to Bay

Point, and as of the date of the filing of this Complaint, Defendants have neither

cured their defaults nor repaid their indebtedness to Bay Point. Bay Point files this

action seeking immediate repayment of all amounts owed under the applicable loan

documents, among other relief.

                  PARTIES, JURISDICTION, AND VENUE

      2.     Plaintiff Bay Point is a Delaware limited partnership with its principal

place of business in Atlanta, Georgia.




                                         -2-
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 3 of 47




      3.     Defendant Hoplite is a California corporation with its principal place

of business in Los Angeles, California. Hoplite is a privately-held corporation that

is 100% owned and controlled by Defendant Smith.

      4.     Defendant Hoplite Entertainment is a California corporation with its

principal place of business in Los Angeles, California. Hoplite Entertainment is a

privately-held corporation, and Defendant Smith is Hoplite Entertainment’s

controlling shareholder.

      5.     Defendant Smith is an individual residing in the State of California.

In addition to serving as the sole and controlling shareholder of Hoplite and

Hoplite Entertainment, respectively, Smith also serves as the President and Chief

Executive Officer of both entities.

      6.     Jurisdiction is proper in this court pursuant to 28 U.S.C. § 1331

because this Court has original jurisdiction over Bay Point’s claims arising under

the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§

1961, et seq. This Court has jurisdiction over the remainder of Bay Point’s claims

pursuant to 28 U.S.C. § 1367(a) because all such claims are so related to the claims

giving rise to this Court’s original jurisdiction that they form part of the same case

or controversy under Article III of the United States Constitution.




                                        -3-
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 4 of 47




      7.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in the Northern District of Georgia. Additionally, Defendants waived any

argument that venue in this Court is not convenient. (Ex. H, § 20; Ex. I, § 20; see

also Ex. E, § 11.6(c); Ex. G, § 18(c).)

                           FACTUAL BACKGROUND

                      Initial Loan Discussions and Negotiation

      8.     Bay Point is a privately held investment fund specializing in short-

term, secured lending to small- and medium-sized businesses that generally do not

have access to traditional sources of capital.

      9.     In furtherance of its lending practices, Bay Point frequently works

with loan brokers who present various lending opportunities to Bay Point. In late

August 2020, Bay Point was approached by a broker named Walter Josten

(“Josten”). Josten is the Founder and President of Blue Rider Pictures, a company

specializing in short-term interim financing for the film industry. At the time, Bay

Point had an ongoing relationship with Josten, and Josten was aware Bay Point

was seeking investment opportunities in the media and production industry.

      10.    On August 24, 2020, two Bay Point employees, Chandler Rierson

(“Rierson”) and Rob Moran (“Moran”), spoke with Josten by telephone. Josten


                                          -4-
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 5 of 47




was joined in the conversation by Max Musina (“Musina”), Josten’s outside

business partner.

      11.    During that conversation, Josten and Musina informed Bay Point that

they were aware of a California-based media company seeking short-term

financing.   Specifically, Josten and Musina told Bay Point that the putative

borrowers were two related, closely-held entities, Hoplite and Hoplite

Entertainment, which were both under Smith’s direct control and management.

Musina also indicated that he had known Smith for a long time.

      12.    Josten and Musina further represented to Bay Point that Hoplite,

Hoplite Entertainment, and Smith had significant accounts receivable against

which they were willing to borrow funds, and that they were seeking funding to

sustain their operations until their receivables were realized.         In the lending

industry, this type of transaction is referred to as a “bridge loan.”

      13.    On August 25, 2020, Josten sent a follow-up email to Rierson and

Moran. In his email, Josten recounted the substance of the prior day’s telephone

call and memorialized the terms of the proposed financing deal. A true and correct

copy of the email from Josten to Rierson and Moran is attached hereto as Exhibit

A.




                                          -5-
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 6 of 47




      14.   Relevant to this Complaint, Josten reiterated that Hoplite and Hoplite

Entertainment were seeking immediate funding in an amount between $1 million

and $2 million, and that they were willing to borrow against their then-existing

short-term accounts receivable of $3,438,000. Specifically, Josten represented that

Hoplite and Hoplite Entertainment’s then-existing receivables consisted of a

$1,488,000 receivable from “Screen media / Crackle / Sony,” a $1,000,000

receivable from “Fight Channel,” and a $950,000 receivable from “Big Media /

National Geographic.”

      15.   However, before agreeing to engage in discussions directly with

Smith on behalf of Hoplite and Hoplite Entertainment, Bay Point indicated that it

first needed to see documentation supporting the existence of, and amounts due

and owing under, the borrowers’ claimed accounts receivable.

      16.   On August 27, 2020, Hoplite, Hoplite Entertainment, and Smith,

through Josten, provided Bay Point with what they represented to be documentary

proof of their then-existing short-term receivables. Included among the documents

were: (1) a License Agreement between Hoplite Entertainment and Big Media

Holdings LLC evidencing a purported receivable of $950,000; (2) a License

Agreement between Hoplite Entertainment and Screen Media Ventures, LLC

evidencing a purported receivable of $1,488,000; and (3) an Acquisition


                                       -6-
          Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 7 of 47




Agreement between Hoplite and Ineomeida, Inc., d/b/a Fight Channel World

Network evidencing a purported receivable of $1,000,000. True and correct copies

of the as-received documents are attached hereto as Exhibits B, C, and D,

respectively.

         17.    Based on the purported value of the accounts receivable evidenced by

the agreements Hoplite, Hoplite Entertainment, and Smith provided to Bay Point

through Josten, Bay Point elected to move forward with the lending process.

         18.    Thereafter, the parties negotiated the terms of the Loan through

Musina, who served as an intermediary.         Throughout the negotiations, Smith

communicated with Bay Point through Musina.

         19.    On September 3, 2020, Bay Point, Hoplite, Hoplite Entertainment,

and Smith executed a Term Sheet, which memorialized the preliminary Loan

terms.

         20.    On September 24, 2020, Musina arranged for Rierson and Moran to

meet Smith in person at the Hotel Casa del Mar in Santa Monica, California.

Musina also attended the meeting. At the September 24, 2020 meeting, the parties

finalized the preliminary terms of the Loan and agreed to move forward with

execution of the Loan documents.




                                         -7-
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 8 of 47




                           Execution of Loan Documents

      21.    In late September 2020, Bay Point entered into the Loan and Security

Agreement dated September 30, 2020 (the “Loan Agreement”) with Hoplite and

Hoplite Entertainment, jointly and severally, pursuant to which Bay Point agreed to

make a loan in the principal amount of $2 million with interest accruing each

month. The Loan Agreement bore a maturity date of December 30, 2020. A true

and correct copy of the Loan Agreement is attached hereto as Exhibit E.

      22.    The Loan was evidenced by a promissory note, also in the amount of

$2 million, dated September 30, 2020 (the “Note”). A true and correct copy of the

Note is attached hereto as Exhibit F.

      23.    Defendant Smith guaranteed Hoplite and Hoplite Entertainment’s

payment and performance obligations owed to Bay Point pursuant to the Loan

Agreement and Note, as set forth in the Guaranty Agreement executed on

September 30, 2020 (the “Guaranty Agreement”). A true and correct copy of the

Guaranty Agreement is attached hereto as Exhibit G.

      24.    The Loan Agreement, Note, and Guaranty Agreement are hereinafter

referred to as, collectively, the “Loan Documents.”

      25.    In the interest of convenience, Defendant Smith executed the Loan

Documents, both in his individual capacity as guarantor and his representative


                                        -8-
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 9 of 47




capacity as President and Chief Executive Officer of Hoplite and Hoplite

Entertainment, at Bay Point’s counsel’s office in Los Angeles, California. At all

relevant times hereto, Defendant Smith was aware that the original copies of the

Loan Documents would be mailed from Los Angeles, California to Bay Point’s

principal place of business in Atlanta, Georgia, and that such mailing was a

necessary prerequisite to formalizing the parties’ financing agreement.

      26.   On or around September 28, 2020, original copies of the signed Loan

Documents were sent via FedEx overnight mail from Bay Point’s counsel’s office

in Los Angeles, California to Bay Point’s counsel’s office in Richmond, Virginia

for processing. Shortly thereafter, on or around October 12, 2020, original copies

of the signed Loan Documents were sent via FedEx overnight mail from Bay

Point’s counsel’s office in Richmond, Virginia to Bay Point’s principal place of

business in Atlanta, Georgia.

      27.   On October 7, 2020, after execution of the Loan Documents was

complete, Smith organized a meeting between himself, Bay Point, and an

individual named Pedro Ferre (“Ferre”), who was the Managing Director of the

Turpera Group. Smith arranged for Ferre to fly from Los Angeles, California to

Atlanta, Georgia to attend the meeting. At the meeting, Ferre indicated that he had




                                       -9-
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 10 of 47




the authority to represent Smith in Smith’s business dealings with Bay Point,

including with specific regard to the loan.

      28.    A second face-to-face meeting between Bay Point, Ferre, and Smith

occurred on November 13, 2020 in Atlanta, Georgia.

                       Relevant Provisions of Loan Documents

      29.    Section 2.3(a) of the Loan Agreement provides that Hoplite and

Hoplite Entertainment “shall pay [Bay Point] monthly installments of accrued and

unpaid interest” commencing on October 31, 2020. Section 2.3(a) further provides

that “[t]he outstanding principal balance of the Loan and all unpaid interest shall be

paid in full on the Maturity Date.” As noted above, the Loan Agreement bore a

maturity date of December 30, 2020.

      30.    Section 2.8(c) of the Loan Agreement provides that failure to make

any payment due under the Loan within five (5) days after the due date thereof will

result in a late fee equal to ten percent (10%) of the amount of such late payment.

      31.    Additionally, Section 2.4(b) of the Loan Agreement provides that,

during the pendency of any Event of Default, all outstanding obligations will

accrue interest at a rate of five percent (5%) per annum in addition to the otherwise

applicable interest rate.




                                        - 10 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 11 of 47




      32.    Section 2.14(a) of the Loan Agreement provides that Hoplite and

Hoplite Entertainment are “jointly and severally liable to [Bay Point] for the

payment or performance of all Obligations.”

      33.    The Loan Agreement provides that the receivables evidenced by the

License Agreement between Hoplite Entertainment and Big Media Holdings LLC,

the License Agreement between Hoplite Entertainment and Screen Media

Ventures, LLC, and the Acquisition Agreement between Hoplite and Ineomeida,

Inc., d/b/a Fight Channel World Network would serve as “Specified Collateral” on

the Loan. (See id., § 1.1 at 7.)

      34.    Section 2.11 of the Loan Agreement provides for the creation and

maintenance of a Specified Collateral Proceeds Account to hold any funds

generated by the receivables associated with the Specified Collateral accounts.

Bay Point was provided “sole access and control of” the Specified Collateral

Proceeds Account. Pursuant to Section 2.11(b), any payments Hoplite and Hoplite

Entertainment received from the Specified Collateral sources were to be forwarded

directly into the Specified Collateral Proceeds Account, and any such funds were

to be held in the Specified Collateral Proceeds Account as additional security for

Bay Point. Additionally, at maturity, the funds in the Specified Collateral Proceeds




                                       - 11 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 12 of 47




Account were to be credited to Hoplite and Hoplite Entertainment’s outstanding

indebtedness to Bay Point.

      35.    The Loan Agreement also provides Bay Point with a lien and security

interest in the form of a valid, first priority security interest in certain of Hoplite

and Hoplite Entertainment’s presently existing and later acquired Collateral.

Specifically, § 4.1 of the Loan Agreement states:

      To secure prompt payment of any and all Obligations and prompt
      performance by each Borrower of each of its covenants and duties
      under the Loan Documents, each Borrower hereby grants Lender a
      continuing Lien on and security interest in all of such Borrower’s
      right, title and interest in and to all of the following presently existing
      and hereafter acquired or arising property, wherever located
      (collectively, the “Collateral”): all Accounts; chattel paper (including
      tangible and electronic chattel paper); commercial tort claims; deposit
      accounts; securities accounts; documents (including negotiable
      documents); equipment (including all accessions and additions
      thereto); general intangibles (including payment intangibles and
      software), including, without limitation, the Specified Collateral;
      Intellectual Property; goods (including fixtures); instruments
      (including promissory notes); inventory (including all goods held for
      sale or lease or to be furnished under a contract of service, and
      including returns and repossessions); investment property (including
      securities and securities entitlements); letter of credit rights; money;
      all books and records with respect to any of the foregoing and the
      computers and equipment containing any such books and records; any
      and all cash proceeds and/or noncash proceeds of any of the
      foregoing, including, without limitation, insurance proceeds, and all
      supporting obligations and the security therefor or for any right to
      payment.




                                        - 12 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 13 of 47




      36.   Section 8 of the Loan Agreement defines the events that constitute an

“Event of Default.”    Under Section 8.1, any instance of Hoplite and Hoplite

Entertainment’s failure to pay, when due, any principal, interest, or other amounts

due and payable under the Loan Agreement constitutes an independent Event of

Default. Likewise, if Hoplite and Hoplite Entertainment violate any provision of

Section 6 or Section 7 of the Loan, they have committed an Event of Default. (See

id., § 8.2.) Finally, if Hoplite and Hoplite Entertainment make “any representation,

warranty, or other statement now or later in this Agreement, any Loan Document

or in any writing delivered to [Bay Point] or to induce [Bay Point] to enter this

Agreement or any Loan Document, and such representation, warranty, or other

statement is false or misleading in any material respect when made,” then they

have committed an Event of Default. (See id., § 8.8.) In the event of any Event of

Default, Section 9 of the Loan Agreement provides Bay Point with several non-

exclusive rights and remedies.

      37.   Under Section 9.1(a), Bay Point may declare all of Hoplite and

Hoplite Entertainment’s obligations immediately due and payable. Section 9.1(b)

permits Bay Point to exercise any rights and remedies available under the Loan

Documents or at law or equity. Pursuant to Section 9.1(d), Bay Point may “do

such acts as [Bay Point] considers necessary or reasonable to protect its security


                                       - 13 -
           Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 14 of 47




interest in the Collateral,” including taking and maintaining possession of the

Collateral, selling the Collateral, or disposing of the Collateral by way of one or

more contracts or transactions.

      38.      Under the Guaranty Agreement, Smith “unconditionally and

irrevocably guarantee[d] to [Bay Point] the principal payment and performance of

all of the obligations” owed by Hoplite and Hoplite Entertainment to Bay Point

pursuant to the Loan Agreement. (See Ex. G, § 1.)

      39.      Smith’s Guaranty Agreement includes, without limitation, the

unconditional     and   irrevocable   obligation   to   pay   “all   loans,   financial

accommodations, and other sums now owing or which may in the future be owing

by [Hoplite and Hoplite Entertainment] under the Loan Agreement and the other

Loan Documents, as and when the same are due and payable, whether on demand,

at stated maturity, by acceleration or otherwise, and whether for principal, interest,

fees, expenses, indemnification or otherwise.” (See id.).

      40.      Pursuant to Sections 2 and 3 of the Guaranty Agreement, Smith’s

obligations are “absolute and unconditional” and “shall remain in full force and

effect until payment in full of all Guaranteed Obligations and other amounts

payable under this Guaranty and until the Loan Documents are no longer in

effect.”


                                        - 14 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 15 of 47




      41.    Section 10 of the Guaranty Agreement provides that in the event of an

Event of Default under the Loan Agreement, Bay Point is permitted “in addition to

exercising any remedies set forth in this Guaranty or otherwise available at law or

in equity, to accelerate Guarantor’s obligations hereunder.”

      42.    Finally, the Note provides: “If an Event of Default shall occur and be

continuing, the entire unpaid Principal Sum and all of the unpaid interest accrued

thereon may become or be declared due and payable in the manner and with the

effect provided in the Loan Agreement.” (See Ex. F, at 1.)

      43.    The Loan Agreement, Note, and Guaranty Agreement provide that

Defendants will reimburse Bay Point for all costs and expenses incurred in

enforcing Defendants’ obligations under the Loan Documents, including Bay

Point’s reasonable attorneys’ fees. (See Ex. E, § 11.4; Ex. F, at 2; Ex. G, § 14.)

                              Initial Events of Default

      44.    Pursuant to Section 2.3(a) of the Loan Agreement, Hoplite and

Hoplite Entertainment’s first monthly installment payment of accrued and unpaid

interest was due and payable on October 31, 2020.

      45.    Hoplite and Hoplite Entertainment failed to pay the accrued and

unpaid interest on October 31, 2020. This constituted an “Event of Default” under

Section 8.1 of the Loan Agreement.


                                        - 15 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 16 of 47




       46.     Pursuant to Section 2.3(a) of the Loan Agreement, Hoplite and

Hoplite Entertainment’s second monthly installment payment of accrued and

unpaid interest was due and payable on November 30, 2020.

       47.     Hoplite and Hoplite Entertainment failed to pay the accrued and

unpaid interest on November 30, 2020. This constituted an additional “Event of

Default” under Section 8.1 of the Loan Agreement.

                   Forbearance Agreements & Additional Defaults

       48.     As a result of the Events of Default, Bay Point was entitled to pursue

any and all of the rights and remedies provided under Section 9 of the Loan

Agreement, including the right to accelerate the entire outstanding indebtedness

and the right to pursue any remedy available at law or equity against Hoplite,

Hoplite Entertainment, and Smith.

       49.     However, in or around early December 2020, Defendants requested

Bay Point forbear from exercising its undisputed rights and remedies under Section

9 of the Loan Agreement, and the parties entered into preliminary negotiations to

that effect.

       50.     Ultimately, the parties reached a settlement that was memorialized in

a Forbearance Agreement dated December 4, 2020 (the “First Forbearance

Agreement”), which was entered into by Bay Point, on the one hand, and Hoplite,


                                        - 16 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 17 of 47




Hoplite Entertainment, and Smith, on the other. A true and correct copy of the

First Forbearance Agreement is attached hereto as Exhibit H.

      51.    At the time the parties entered into the First Forbearance Agreement,

Defendants’ total outstanding indebtedness to Bay Point was $2,235,238.89, as

evidenced by Recital H to the First Forbearance Agreement. (See Ex. H, at 2.)

      52.    Section 20 of the First Forbearance Agreement provides that “this

Agreement and the Loan Documents shall be governed by, and shall be construed

and enforced in accordance with, the laws of the State of Nevada[.]” The First

Forbearance Agreement further provides that the parties consent to the personal

jurisdiction of Georgia’s federal and state courts and that the parties waive any

challenge to the convenience of such venues. (See id.)

      53.    The First Forbearance Agreement further provides that, “[t]o the

extent terms or provisions in this Agreement and the Loan Documents conflict or

are inconsistent, the terms of this Agreement shall control.” (See id., § 1(d).)

      54.    Pursuant to Section 2 of the First Forbearance Agreement, Bay Point

agreed to forbear exercising its rights and remedies for Defendants’ breaches of the

Loan Documents until 4:00 p.m. on December 11, 2020. In exchange for Bay

Point’s forbearance, Defendants agreed to make three payments on or before

December 11, 2020: (1) a payment of $200,000 to satisfy past due interest on the


                                        - 17 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 18 of 47




Loan Documents; (2) a payment of $2,013,850; and (3) a payment in satisfaction

of all remaining outstanding indebtedness accrued by Defendants as of such date.

(See id., §§ 2(e)–(g).)

      55.    Section 4 of the First Forbearance Agreement provided that any

failure to make the payments identified in Section 2(e)–(g) on or before 4:00 p.m.

on December 11, 2020 would constitute an immediate Event of Default.

      56.    Defendants failed to make any of the payments set forth in Section 2

of the Agreement by 4:00 p.m. on December 11, 2020. This constituted an “Event

of Default” under the First Forbearance Agreement.

      57.    Accordingly, Bay Point’s forbearance obligations were extinguished,

and Bay Point was entitled to pursue any and all of the rights and remedies

provided under Section 9 of the Loan Agreement, including the right to accelerate

the outstanding indebtedness and to pursue any remedy available at law or equity

against Hoplite, Hoplite Entertainment, and Smith.

      58.    However, on December 18, 2020, Ferre sent an email to Charles

Andros, Bay Point’s President and Chief Investment Officer, purporting to be

acting on Defendant Smith’s behalf. Ferre indicated that he “was able to get

[Smith] to agree to” a modified payment schedule, which Ferre stated that he

believed provided “a workable and realistic solution for [Smith] to close out his


                                      - 18 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 19 of 47




debt to [Bay Point].” In conjunction with the modified payment terms set forth in

his email, Ferre stated: “I am asking on his behalf for a few extra weeks.”

       59.    Ultimately, based on the representations made in Ferre’s December

18, 2020 email on Smith’s behalf, the parties reached an agreement for Bay Point

to forbear that was memorialized in a Forbearance Agreement dated December 21,

2020 (the “Second Forbearance Agreement”). A true and correct copy of the

Second Forbearance Agreement is attached hereto as Exhibit I.

       60.    On December 22, 2020, Defendants sent the original copy of the

Second Forbearance Agreement via FedEx overnight mail from Hollywood,

California to Bay Point’s principal place of business in Atlanta, Georgia.

       61.    At the time the parties entered into the Second Forbearance

Agreement, Defendants’ total outstanding indebtedness to Bay Point was

$2,517,618.89, as provided in Recital I of the Second Forbearance Agreement.

(See Ex. I, at 2.)

       62.    Section 20 of the Second Forbearance Agreement provides that “this

agreement and the loan documents shall be governed by, and shall be construed

and enforced in accordance with, the laws of the State of Nevada[.]” (capitalization

omitted). The Second Forbearance Agreement further provides that the parties




                                       - 19 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 20 of 47




consent to the personal jurisdiction of Georgia’s federal and state courts and that

the parties waive any challenge to the convenience of the venue. (See id.)

      63.    The Second Forbearance Agreement also provides that “[t]o the extent

terms or provisions in this Agreement and the Loan Documents conflict or are

inconsistent, the terms of this Agreement shall control.” (See id., § 1(d).)

      64.    Pursuant to Section 3 of the Second Forbearance Agreement, Bay

Point agreed to forbear exercising its rights and remedies for Defendants’ breaches

of the Loan Documents until 4:00 p.m. on January 15, 2021, provided that no

Event of Default occurred before such date.          In exchange for Bay Point’s

forbearance, Defendants agreed to make three payments: (1) a payment of

$200,000 on or before December 23, 2020, to satisfy past due interest on the Loan

Documents; (2) a payment of $1,000,000 on or before December 31, 2020; and (3)

a payment of $1,100,000 on or before January 15, 2021. If Defendants made all

three payments, then Bay Point agreed to waive all remaining indebtedness on the

Loan Documents. (See id., § 4.)

      65.    Section 5 of the Second Forbearance Agreement provided that any

failure to make the payments identified in Section 3 on or before the date identified

therein would constitute an immediate Event of Default, entitling Bay Point to




                                        - 20 -
          Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 21 of 47




again pursue all available remedies under the Loan Agreement and at law or

equity.

      66.     Defendants failed to make the payments set forth in Sections 3(a)–(b)

of the Second Forbearance Agreement by the dates set forth therein. These failures

to meet the payment deadlines constituted additional “Events of Default” under the

Second Forbearance Agreement. Additionally, pursuant to Section 6 of the Second

Forbearance Agreement, Defendants’ failure to make timely payments resulted in

the immediate acceleration of the entire outstanding indebtedness.

      67.     Accordingly, Bay Point’s forbearance obligations were again

extinguished, and Bay Point was entitled to pursue any and all of the rights and

remedies provided under Section 9 of the Loan, including the right to pursue any

remedy available at law or equity against Hoplite, Hoplite Entertainment, and

Smith.

      68.     To date, Defendants have not repaid any of their outstanding

indebtedness to Bay Point, including the principal, interest, late fees, attorneys’

fees, and other related costs and expenses.

                   Defendants’ Fraudulent Scheme Comes to Light

      69.     Defendants induced Bay Point into loaning them $2 million by

representing to Bay Point that they had at least $3,438,000 in then-existing short-


                                       - 21 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 22 of 47




term accounts receivable from their prior agreements with three outside parties. In

support thereof, Defendants provided Bay Point with what Defendants represented

to be true and accurate copies of these agreements. (See Exs. B, C, & D.)

                (1) Falsified ACH and Wire Transfer Confirmations

      70.    In furtherance of their scheme to induce Bay Point to lend them $2

million, Defendants agreed to assign the rights to payment of these outstanding

accounts receivable to Bay Point as “Specified Collateral” on the Loan. Thus, in

accordance with Section 2.11 of the Loan Agreement, any payments made to

Hoplite or Hoplite Entertainment under the third-party agreements specified above

were to be made either (1) directly to Bay Point by the third-party debtors, or (2) to

Hoplite and Hoplite Entertainment, who were then obligated to remit the funds to

Bay Point. In either instance, all such funds were to be held in the Specified

Collateral Proceeds Account and, subject to several enumerated exceptions, would

ultimately be used to satisfy Hoplite and Hoplite Entertainment’s indebtedness to

Bay Point.

      71.    On November 17, 2020, at 10:19 a.m., Defendant Smith sent an email

to Rierson and Moran, who, as noted above, are the Bay Point employees primarily

responsible for the relationship with Defendants. A true and correct copy of the

email correspondence is attached hereto as Exhibit J.


                                        - 22 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 23 of 47




      72.   Smith’s email represented that he was forwarding an earlier message

from Seth Needle, an executive of Screen Media Ventures, to Smith, which

showed what appeared to be the confirmation of a Wells Fargo automated clearing

house (ACH) transfer, which is a type of electronic funds transfer. The amount of

the alleged ACH transfer was $1,488,000, which constituted the full amount owed

to Hoplite Entertainment under its prior agreement with Screen Media Ventures,

and to which Bay Point had a priority claim pursuant to Section 2.11 of the Loan

Agreement. Thus, Smith represented that Hoplite Entertainment had been paid in

full by Screen Media Ventures and that, in turn, Bay Point would be repaid with

the same funds in due course.

      73.   At the time Smith sent the November 17, 2020 email to Bay Point,

Defendants were already in default on the Loan Documents after failing to make

the October 31, 2020 installment payment.

      74.   Additionally, in the nearly two months since the Loan Documents had

been signed, no funds had been deposited in the Specified Collateral Proceeds

Account either directly from the third-party debtors or indirectly through Hoplite

and Hoplite Entertainment.




                                      - 23 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 24 of 47




      75.    Thus, Bay Point was initially relieved to receive Smith’s email, which

made it appear as though $1,488,000 would be deposited into the Specified

Collateral Proceeds Account, either directly or indirectly, within a matter of days.

      76.    Bay Point never received the funds shown in the purported ACH

transfer.

      77.    Two weeks later, on December 1, 2020, Chandler Rierson of Bay

Point forwarded Smith’s November 17, 2020 email correspondence directly to Seth

Needle at Screen Media Ventures and asked Mr. Needle to call him to discuss

Screen Media Ventures’ purported ACH transfer to Hoplite on November 17,

2020. (See Ex. J.)

      78.    Later that same day, Seth Needle responded to Bay Point via email,

writing: “Unfortunately, it appears this is a scam, as I did not ever send any such

email.” (See id.)

      79.    Upon information and belief, Defendants fabricated the Wells Fargo

ACH transfer confirmation, including by making it appear as though Screen Media

Ventures had electronically transferred the precise amount of its purported

indebtedness to Hoplite Entertainment, and then sent a copy of the fraudulent ACH

transfer notification to Bay Point via email in order to convince Bay Point not to

foreclose on the Loan Documents, which were then in default.


                                        - 24 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 25 of 47




      80.    In the interim, Smith forwarded another funds transfer confirmation to

Chandler Rierson and Rob Moran at Bay Point on November 20, 2020, which

showed that a wire transfer had been initiated and was being processed. A true and

correct copy of the November 20, 2020 email correspondence is attached hereto as

Exhibit K.

      81.    The wire transfer initiation notification indicated that Defendants were

in the process of wiring $100,000 directly to Bay Point’s bank account, and that

the funds would be deposited on November 23, 2020.

      82.    Again, however, Bay Point never received the funds reflected in the

purported wire transfer notification.

      83.    Upon information and belief, Defendants also fabricated this second

Wells Fargo wire transfer confirmation in an effort to further convince Bay Point

not to exercise its remedies under the Loan Documents, which remained in default.

                          (2) Falsified License Agreement

      84.    After Bay Point learned that the purported ACH funds transfer from

Screen Media Ventures was fraudulent, Bay Point asked Seth Needle to send Bay

Point a copy of Screen Media Ventures’ License Agreement with Hoplite

Entertainment.




                                        - 25 -
         Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 26 of 47




        85.   On December 2, 2020, Seth Needle responded to Bay Point via email.

Attached to Mr. Needle’s email correspondence was a copy of Screen Media

Ventures’ License Agreement with Hoplite Entertainment. A true and correct copy

of the License Agreement provided by Mr. Needle is attached hereto as Exhibit L.

        86.   The License Agreement provided by Screen Media Ventures was

nearly identical to the one previously provided to Bay Point by Defendants during

the initial Loan negotiations, with two glaring exceptions: There was no Section

2(c) requiring advance payments (pg. 1), and in Exhibit A of the License

Agreement (pg. 4), there was no mention of the $1,488,000 monetary advance.

These terms, however, appeared in the copy of the License Agreement that

Defendants provided to Bay Point during their prior Loan negotiations as proof of

a then-existing short-term receivable. (Compare Ex. C, at 1 & 4, with Ex. L, at 1

& 4.)

        87.   Upon information and belief, Defendants fraudulently added material

terms to the version of the License Agreement with Screen Media Ventures

provided to Bay Point in order to make it appear as if Screen Media Ventures had

agreed to advance Hoplite Entertainment the sum of $1,488,000, when Screen

Media Ventures had not. Upon further information and belief, Defendants forged




                                      - 26 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 27 of 47




the signatures on behalf of Screen Media Ventures in the version of the License

Agreement with Screen Media Ventures provided to Bay Point.

      88.     Defendants then used that falsified License Agreement to induce Bay

Point to lend them the sum of $2 million, and gave Bay Point “security” in the

form of a priority right to a receivable that did not exist.

                Hoplite Entertainment’s Incorporation is Suspended

      89.     On or about October 1, 2020, Hoplite Entertainment’s incorporation

with the California Secretary of State was changed from “Active” to “FTB

Suspended.”      This status change indicates that “[t]he business entity was

suspended . . . by the Franchise Tax Board for failure to meet tax requirements

(e.g., failure to file a return, pay taxes, penalties, interest).” As a result of its

failure to meet certain of its tax obligations, Hoplite Entertainment’s powers, rights

and privileges, which include the right to use the entity's name in California, were

suspended.

      90.     As of January 22, 2021, Hoplite Entertainment’s incorporation

remains suspended.

                       Continuing Default and Amounts Owed

      91.     As of the date of the filing of this Verified Complaint, Defendants

Hoplite, Hoplite Entertainment, and Smith remain in default on the Loan


                                         - 27 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 28 of 47




Documents, as well as the First and Second Forbearance Agreements.

Additionally, upon committing an Event of Default under the Second Forbearance

Agreement, the entire outstanding indebtedness was automatically accelerated and

became immediately due and payable.

      92.    As of January 22, 2021, the total amount owed under the Loan

Documents, inclusive of the First and Second Forbearance Agreements, is

$2,688,611.11 (the “Indebtedness”), which is comprised of:

             (a)   $2,000,000 in principal and $376,666.67 in interest thereon,

which continues to accrue at the fixed rate of five (5) percent per month;

             (b)   $56,944.44 in default interest, which accrued at a rate of five

(5) percent per annum from November 4, 2020 to December 11, 2020, and which

continues to accrue at a rate of twenty (20) percent from December 12, 2020 to

present, in addition to the otherwise applicable interest rate on the principal

balance of the Loan Documents;

             (c)   $230,000.00 in Late Fees; and

             (d)   $25,000.00 in Legal Fees.

                          Miscellaneous Security Interests

      93.    Hoplite and Hoplite Entertainment are jointly indebted to Columbia

State Bank under the terms of a Business Loan Agreement dated April 21, 2020


                                       - 28 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 29 of 47




(the “SBA Loan”). The SBA Loan is in the principal amount of $750,000 and

bears a maturity date of April 21, 2021. As security for the SBA Loan, Hoplite and

Hoplite Entertainment pledged their interests in two television programs (“Ink

Therapy III” and “We Bought a Vineyard”) to Columbia State Bank.

      94.   On September 28, 2020, Columbia State Bank provided written

consent to the execution of the Loan from Bay Point to Hoplite and Hoplite

Entertainment, and executed a Standby Creditor’s Agreement (the “Standby

Agreement”) in Bay Point’s favor whereby Columbia State Bank agreed to

subordinate its SBA Loan to Bay Point’s Loan. As part of the Standby Agreement,

Columbia State Bank retained its priority security interests in Ink Therapy III and

We Bought a Vineyard.

      95.   True and correct copies of the consent letter, Standby Agreement, and

the SBA Loan are attached hereto as Exhibit M.

      96.   During the Loan negotiation process, several additional of Hoplite

and/or Hoplite Entertainment’s creditors executed debt subordination or standby

agreements in Bay Point’s favor, whereby the creditors agreed to subordinate their

loans to Bay Point’s Loan.

      97.   On October 1, 2020, Bay Point filed California Uniform Commercial

Code Financing Statements (UCC 1) with the California Secretary of State to


                                      - 29 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 30 of 47




perfect its security interests in Hoplite and Hoplite Entertainment’s Collateral.

True and correct copies of the Lien Search Certificates evidencing the perfection of

Bay Point’s security interests are attached hereto as Exhibit N.

                             COUNT ONE
  Racketeer Influenced and Corrupt Organizations Act 18 U.S.C. § 1962(c)
                            (All Defendants)

      98.    The allegations of Paragraphs 1 through 97 above are incorporated by

reference as if fully set forth herein.

      99.    Each Defendant is a “person” within the meaning of 18 U.S.C. §

1961(3) because each Defendant is, and at all relevant times hereto was, an

individual or entity capable of holding a legal or beneficial interest in property.

      100. As detailed above and herein, Defendants collectively formed an

“enterprise” within the meaning of 18 U.S.C. § 1961(4) in that they are a group of

individuals and corporations associated in fact, although not a single legal entity.

At all relevant times hereto, Defendants’ enterprise was engaged in interstate

commerce to facilitate, manage, establish, and carry on their enterprise’s fraudulent

scheme.

      101. Defendants formed a common scheme and enterprise for the common

purpose of fraudulently inducing Bay Point to convey $2 million to Defendants,

when Defendants had no intention of repayment of such funds.


                                          - 30 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 31 of 47




      102. Each of the Defendants conducted and participated in the operations

of the enterprise through a “pattern of racketeering activity” within the meaning of

18 U.S.C. §§ 1962(c) and 1961(5), including by engaging in acts indictable as wire

fraud under 18 U.S.C. § 1343 and mail fraud under 18 U.S.C. § 1341.

      103. In furtherance of their enterprise, Defendants transmitted fraudulent

documents and representations to Bay Point through the means of wire

communication in violation of 18 U.S.C. § 1343. Specifically, and as detailed at

length above, on August 27, 2020, Defendants caused the enterprise to send to Bay

Point by electronic mail a fraudulent License Agreement purporting to evidence

$1,488,000 in accounts receivable for the sole purpose of inducing Bay Point to

make a Loan to Defendants in the amount of $2 million.              Additionally, on

November 17, 2020, and November 20, 2020, Defendants caused the enterprise to

send to Bay Point by electronic mail two fraudulent electronic payment

confirmations evidencing electronic funds transfers that, in reality, were never sent.

Defendants did so for the sole purpose of furthering their scheme to avoid

repayment of Bay Point’s $2 million Loan to Defendants.

      104. In furtherance of their scheme, Defendants also sent documents

through the United States Postal Service and/or private or commercial interstate

carriers in violation of 18 U.S.C. § 1341. Specifically, on or about September 28,


                                        - 31 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 32 of 47




2020, Defendant Smith signed the Loan Agreement, Note, and Guaranty

Agreement with the understanding that the original copies of such documents

would be transmitted from California to Bay Point’s principal place of business in

Atlanta, Georgia by the United States Postal Service or a private or commercial

interstate carrier and that such cross-country transmission of the original

documents was a necessary prerequisite to formalizing the lending agreement.

And, consistent with Defendants’ understanding, the original copies of the Loan

Documents were sent via FedEx overnight mail to Bay Point’s counsel’s office in

Richmond, Virginia for processing on or around September 28, 2020, and were

then sent via FedEx overnight mail from Bay Point’s counsel’s office in

Richmond, Virginia to Bay Point’s principal place of business in Atlanta, Georgia

on or around October 12, 2020. Additionally, on December 22, 2020, Defendants

sent the original copy of the Second Forbearance Agreement via FedEx overnight

mail from Hollywood, California to Bay Point’s principal place of business in

Atlanta, Georgia.

      105. Defendants’     fraudulent    acts,   including   Defendants’   multiple

commissions of wire fraud and mail fraud, formed a “pattern of racketeering

activity” within the meaning of 18 U.S.C. § 1961(5). Such acts were interrelated

by virtue of common participants, a common victim, a common method of


                                        - 32 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 33 of 47




commission and course of conduct, and the common purpose and common result

of defrauding Bay Point of $2 million and enriching the Defendants at Bay Point’s

expense while concealing their fraudulent activities.

      106. As a direct and proximate result of the racketeering activity engaged

in by Defendants’ fraudulent enterprise, Bay Point suffered injury to its business or

property within the meaning of 18 U.S.C. § 1964(c).

      107. Because of Defendants’ violations of 18 U.S.C. § 1962(c), Defendants

are liable to Bay Point for three times the damages sustained, as well as Bay

Point’s litigation costs and reasonable attorneys’ fees.

                             COUNT TWO
 Racketeer Influenced and Corrupt Organizations Act 18 U.S.C. § 1962(d) –
                              Conspiracy
                            (All Defendants)

      108. The allegations of Paragraphs 1 through 107 above are incorporated

by reference as if fully set forth herein.

      109. Section 1962(d) prohibits any person from conspiring with other

persons to violate 18 U.S.C. § 1962(c).

      110. As detailed above and herein, Defendants conspired to violate 18

U.S.C. § 1962(c) by agreeing to engage in a common scheme and enterprise for the

common purpose of obtaining funds from Bay Point through a pattern of




                                             - 33 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 34 of 47




racketeering activity, including but not limited to the transmission of fraudulent

documents and other communications to Bay Point by wire and mail.

      111. Defendants knew their common scheme and enterprise was part of a

pattern of racketeering activity and agreed to the commission of those acts to

accomplish the goals of their fraudulent enterprise.

      112. Defendants committed and caused to be committed a series of overt

acts in furtherance of the conspiracy and to affect the objects thereof, including but

not limited to the acts set forth above.

      113. As a direct and proximate result of Defendants’ conspiracy, and the

overt acts taken in furtherance of that conspiracy, Bay Point suffered injury to its

business or property as set forth above.

      114. Because of Defendants’ violations of 18 U.S.C. § 1962(d), Defendants

are liable to Bay Point for three times the damages sustained, as well as Bay

Point’s litigation costs and reasonable attorneys’ fees.

                               COUNT THREE
                 Breach of Contract – Loan Agreement and Note
                 (Defendants Hoplite and Hoplite Entertainment)

      115. The allegations of Paragraphs 1 through 114 above are incorporated

by reference as if fully set forth herein.




                                             - 34 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 35 of 47




      116. Defendants Hoplite and Hoplite Entertainment executed the Loan

Agreement and Note attached hereto as Exhibits E and F, respectively.

      117. Bay Point has performed all of its obligations and conditions

precedent under the Loan Agreement and Note.

      118. Defendants Hoplite and Hoplite Entertainment breached the Loan

Agreement and Note by failing to perform certain covenants thereunder, including

by (1) failing to pay the interest payments due on October 31, 2020, and November

30, 2020, (2) failing to pay the entire indebtedness immediately upon the

occurrence of several Events of Default, and (3) failing to pay the entire

indebtedness on the Maturity Date.

      119. As a direct and proximate result of Defendants Hoplite and Hoplite

Entertainment’s breaches of the Loan Agreement and Note, Bay Point has

sustained damages in an amount to be determined at trial.

      120. Pursuant to the Loan Agreement, Defendants Hoplite and Hoplite

Entertainment are jointly and severally liable for any such damages awarded to

Bay Point.




                                      - 35 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 36 of 47




                                 COUNT FOUR
                     Breach of Contract—Guaranty Agreement
                                (Defendant Smith)

      121. The allegations of Paragraphs 1 through 120 above are incorporated

by reference as if fully set forth herein.

      122. Defendant Smith executed the Guaranty Agreement attached hereto as

Exhibit G.

      123. Pursuant to the Guaranty Agreement, Smith is unconditionally and

irrevocably obligated to pay all obligations of Hoplite and Hoplite Entertainment

under the Loan Agreement and other Loan Documents, including the payment of

all principal, interest, fees, and expenses whenever any such obligations become

due and payable.

      124. Smith breached the Guaranty Agreement by failing to pay Hoplite and

Hoplite Entertainment’s entire indebtedness upon the occurrence of any of the

Events of Default.

      125. Smith further breached the Guaranty Agreement by failing to pay the

entire outstanding balance of the Loan Documents on the Maturity Date, or at any

time thereafter.




                                             - 36 -
          Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 37 of 47




         126. As a direct and proximate result of Smith’s breaches of the Guaranty

Agreement, Bay Point has sustained damages in an amount to be determined at

trial.

                                 COUNT FIVE
                Breach of Contract – First Forbearance Agreement
                                (All Defendants)

         127. The allegations of Paragraphs 1 through 126 above are incorporated

by reference as if fully set forth herein.

         128. Defendants Hoplite, Hoplite Entertainment, and Smith executed the

First Forbearance Agreement attached hereto as Exhibit H.

         129. Bay Point has performed all its obligations and conditions precedent

under the First Forbearance Agreement.

         130. Defendants breached the First Forbearance Agreement by failing to

perform certain covenants thereunder, including by (1) failing to pay the sum of

$200,000 on or before December 11, 2020, (2) failing to pay the sum of

$2,013,850 on or before December 11, 2020, and (3) failing to pay the entire

outstanding indebtedness by 4:00 p.m. on December 11, 2020, as provided by

Section 2(g) of the First Forbearance Agreement.




                                             - 37 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 38 of 47




      131. Defendants further breached the First Forbearance Agreement by

failing to pay the entire indebtedness upon the occurrence of any Event of Default,

including those enumerated in the preceding paragraph.

      132. As a direct and proximate result of Defendants’ breaches of the First

Forbearance Agreement, Bay Point has sustained damages in an amount to be

determined at trial.

                                 COUNT SIX
              Breach of Contract – Second Forbearance Agreement
                               (All Defendants)

      133. The allegations of Paragraphs 1 through 132 above are incorporated

by reference as if fully set forth herein.

      134. Defendants Hoplite, Hoplite Entertainment, and Smith executed the

Second Forbearance Agreement attached hereto as Exhibit I.

      135. Bay Point has performed all its obligations and conditions precedent

under the Second Forbearance Agreement.

      136. Defendants breached the Second Forbearance Agreement by failing to

perform certain covenants thereunder, including by (1) failing to pay the sum of

$200,000 on or before December 23, 2020, (2) failing to pay the sum of

$1,000,000 on or before December 31, 2020; and (3) failing to pay the sum of

$1,100,000 on or before January 15, 2021.


                                             - 38 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 39 of 47




      137. Defendants further breached the Second Forbearance Agreement by

failing to pay the entire indebtedness upon the occurrence of any Event of Default,

including those enumerated in the preceding paragraph.

      138. As a direct and proximate result of Defendants’ breaches of the

Second Forbearance Agreements, Bay Point has sustained damages in an amount

to be determined at trial.

                                  COUNT SEVEN
                             Fraudulent Misrepresentation
                                  (All Defendants)

      139. The allegations of Paragraphs 1 through 138 above are incorporated

by reference as if fully set forth herein.

      140. By providing Bay Point with a materially fabricated License

Agreement, Defendants falsely represented to Bay Point that they had receivable

funds sufficient to serve as security on Bay Point’s Loan to Defendants.

      141. Defendants made this misrepresentation with the knowledge that such

misrepresentation was false and with the specific intent to induce Bay Point to

Loan them $2 million.

      142. It was objectively reasonable for Bay Point to rely on the signed

License Agreement that Defendants provided.




                                             - 39 -
            Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 40 of 47




        143. Bay Point relied on Defendants’ misrepresentation to its detriment by

issuing a $2 million Loan that, had Defendants represented their true financial

condition, it would not have otherwise issued, or would have issued on materially

different terms. Accordingly, Bay Point was damaged by issuing a multi-million-

dollar Loan without obtaining adequate collateral security, leaving Bay Point

under-secured on its Loan.

        144. As a direct and proximate result of Defendants’ fraudulent

misrepresentation, Bay Point has sustained damages in an amount to be determined

at trial.

        145. Additionally, because Defendants acted oppressively, fraudulently,

and maliciously by engaging in the conduct alleged herein, Bay Point is entitled to

punitive damages under NRS 42.005 for the sake of example and by way of

punishing the defendant.

                                  COUNT EIGHT
                                 Unjust Enrichment
                                  (All Defendants)

        146. The allegations of Paragraphs 1 through 145 above are incorporated

by reference as if fully set forth herein.

        147. Bay Point conferred a tangible benefit on Defendants by lending them

the sum of $2 million in cash.


                                             - 40 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 41 of 47




      148. Defendants have accepted and retained Bay Point’s funds, and have

enjoyed the benefit of the use of such funds.

      149. Under the present circumstances, it is inequitable for Defendants to

retain the benefit of Bay Point’s funds without payment for the value thereof.

      150. Accordingly, Defendants have been unjustly enriched to Bay Point’s

detriment, and Bay Point is entitled to just compensation in an amount to be

determined at trial.

      151. Finally, because an action based on a theory of unjust enrichment is

available only in the absence of an express, written contract, Bay Point’s claim for

unjust enrichment is pled in the alternative to Counts III, IV, V, and VI, above.

                                  COUNT NINE
                              Appointment of Receiver
                                 (All Defendants)

      152. The allegations of Paragraphs 1 through 151 above are incorporated

by reference as if fully set forth herein.

      153. This Court has the authority to appoint a receiver to assume custody,

control, and management of property that is involved in litigation pursuant to Fed.

R. Civ. P. 66.

      154. Section 4.1 of the Loan Agreement provides Bay Point with a security

interest in Defendants’ right, title, and interest in Defendants’ Collateral, which


                                             - 41 -
       Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 42 of 47




consists of several specifically enumerated pieces of tangible and intangible goods

and property, including certain of Defendants’ bank accounts, equipment,

investments, and money, among other property.

      155. Pursuant to the Loan Agreement, Bay Point’s security interest in

Defendants’ Collateral serves as a valid, first prior security interest against the

outstanding balance of the loan.

      156. Defendants have defaulted on their Loan obligations to Bay Point, and

Bay Point currently faces a significant risk of nonpayment on the Loan Documents.

      157. Without the appointment of a receiver to protect Bay Point’s security

interest in Defendants’ Collateral, there is a significant risk that the property will

be concealed, lost, wasted, or diminished in value, leaving Bay Point inadequately

secured against its impending loss.

      158. Accordingly, this Court should appoint a receiver to protect fully the

Collateral identified in Section 4.1 of the Loan Agreement until further order of

this Court so as to avoid any further concealment, loss, waste, or diminishment in

value of the property.




                                        - 42 -
        Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 43 of 47




                                    COUNT TEN
                                   Attorneys’ Fees
                                   (All Defendants)

      159. The allegations of Paragraphs 1 through 158 above are incorporated

by reference as if fully set forth herein.

      160. Pursuant to the Loan Agreement, Note, Guaranty Agreement, and

First and Second Guaranty Agreements, Defendants are required to pay Bay

Point’s attorneys’ fees, costs, and expenses associated with this action. (See Ex. E,

§ 11.4; Ex. F, at 2.; Ex. G, § 14; Ex. H, § 8; Ex. I, § 8.)

      161. Upon the Events of Default, the maturity of the Loan Documents and

Forbearance Agreements was accelerated and the indebtedness, including

Defendants’ liability for Bay Point’s aforementioned attorneys’ fees and related

costs, became immediately due and payable.

      162. Accordingly, Bay Point is entitled to its reasonable attorneys’ fees and

costs incurred in enforcing Defendants’ obligations under the Loan Documents and

Forbearance Agreements.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Bay Point Capital Partners II, LP respectfully

requests that the Court:




                                             - 43 -
          Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 44 of 47




      (a)     Enter judgment in favor of Bay Point and against Defendants on all

counts;

      (b)     Award Bay Point damages in an amount not less than $2,688,611.11,

including:

              (i)     $2,000,000.00 in unpaid principal under the Loan Documents;

              (ii)    $376,666.67 in standard interest;

              (iii)   $56,944.44 in default interest;

              (iv)    $230,000.00 in Late Fees; and

              (v)     $25,000.00 in legal fees.

      (c)     Award Bay Point treble damages, as well as its attorneys’ fees and

litigation expenses, for Defendants’ violations of 18 U.S.C. §§ 1962(c) and (d);

      (d)     Award Bay Point its attorneys’ fees and litigation expenses pursuant

to the terms of the Loan Agreement, Note, Guaranty Agreement, and First and

Second Forbearance Agreements;

      (e)     Appoint a receiver to protect fully the Collateral identified in Section

4.1 of the Loan Agreement until further order of this Court so as to avoid any

further concealment, loss, waste, or diminishment in value of the property; and

      (f)     Grant such other and further relief as may be just or equitable under

the circumstances.


                                          - 44 -
 Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 45 of 47




Respectfully submitted, this 22nd day of January, 2021.

                                   TROUTMAN PEPPER
                                   HAMILTON SANDERS LLP

                                   By: /s/ Alexandra S. Peurach
                                   Harris B. Winsberg (Bar No. 770892)
                                   harris.winsberg@troutman.com
                                   Alexandra S. Peurach (Bar No. 451333)
                                   alexandra.peurach@troutman.com
                                   Christopher J. Kelleher (Bar No. 937613)
                                   chris.kelleher@troutman.com

                                   Bank of America Plaza
                                   600 Peachtree Street NE
                                   Suite 3000
                                   Atlanta, GA 30308-2216
                                   Telephone:     404.885.3000
                                   Facsimile:     404.885.3900

                                   Attorneys for Plaintiff
                                   Bay Point Capital Partners II, LP




                                - 45 -
Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 46 of 47
Case 1:21-cv-00375-MLB Document 1 Filed 01/22/21 Page 47 of 47
